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AO 106 (Rev. 04/10) Application for a Search Warrant

rola
UNITED STATES DISTRICT COUR? DISTRICT OF UTAH
for the , DEC 29 2016

 

District oF Utah ap: MARK JONES, CLERK
In the Matter of the Search of. “y em DEPUTY CLERK
Briefly describe th tob hed 6 Ay TI
(Briefly describe the property to be searches } caseno. BMa-mnj- G73 EH
USPS Priority Mail parcel No. 9505 5100 2091 6355 )
0353 70 addressed to Xander Valdez 1565 Siskiyou

Blvd. Spc #9 Ashland, OR 97520.

APPLICATION FOR A SEARCH WARRANT
I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the

PrOpeEhe espe secrelied ag Ber Ko,°SKGH'5 100 2091 6355 0353 70 addressed to Xander Valdez 1565 Siskiyou Blvd. Spc #9

Ashland, OR return address of Megan Valdez 4262 S. 1100 E. SLC, UT 84124. See attached Affidavit.

located in the District of Utah , there is now concealed (identify the

person or describe the property to be seized):
Marijuana, Hashish, Cocaine, Heroin, Methamphetamine, or any derivatives/analogs of those drugs, or any controlled

substances, drug paraphernalia, or monetary proceeds, or any documents or items showing names and addresses or
persons from whom or to whom the package was sent and/or any items of contraband.
The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more): ,

om evidence of a crime;
mo contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;

© a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. 1716 - Nonmailable Matter
21 U.S.C. 841 - Possession or Distribution of Controlled Substance’
21 U.S.C. 843 - Unlawful Use of the Mail to Distribute Controlled Substance

_ The application is based on these facts:

mt Continued on the attached sheet.
CO Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a. 103a, the basis of which is set forth on the es, sheet,
Vo face LD Ss signature

Lance Howell, U.S. Postal Inspector
Printed name and title

Sworn to before me and signed in my presence.

Date: 12-22-2016 |
. Judge's signature

‘EVELYN J. FURSE, U.S. Magistrate

Printed name and title

City and state: Salt Lake City, Utah

 
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AFFIDAVIT

I, Lance Howell, being duly sworn, hereby depose and say:

‘1. Tama Postal Inspector assigned to the United States Postal Inspection Service
(USPIS), Phoenix Division, domiciled in Salt Lake City, Utah. I have been
employed by the United States Postal Inspection Service since September
2012. I began my Federal law enforcement career in 2004 as a Special Agent
in the United States Secret Service, and J have been a sworn Federal law
enforcement officer since that time. I have been trained and have experience
in investigating multiple crimes related to the U.S. Postal Service, including
violations of Title 18, United States Code, Section 1716, Injurious Articles as
Nonmailable; Title 21, United States Code, Section 841, Possession or
Distribution of a Controlled Substance; Title 21 United States Code, Section
843, Unlawful Use of a Communication Facility (Mail); and other related
offenses. I am currently assigned to the External Crimes / Prohibited Mail
Narcotics Team. The facts and information contained in this affidavit has
been obtained by me personally or has been provided to me by other law
enforcement officers and postal employees.

2. From my training and experience, I am aware that the U.S. Postal Service’s
Priority Mail service was designed to fit the needs of businesses and
individuals by providing fast domestic delivery for time-sensitive materials.
Priority Mail packages range in weight and sizes. Normal business mailings
are less than two (2) pounds for parcels. Excess weight of packages (over two

(2) pounds) is outside normal business mailing weight. I know that drug

 
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traffickers prefer delivery services such as Priority Mail. Priority Mail service
is preferred because of its speed, reliability, and the ability to track a mailed
article’s progress to the intended delivery point. Also, controlled substances
are mailed in large quantities to reduce the shipping costs. For example, it is
cheaper to mail one parcel containing more weight than ten parcels containing
lower weight.

This affidavit is made in support of an application for a search warrant on a
Priority Mail Parcel No. 9505 5100 2091 6355 0353 70, (hereinafter referred
to as the “SUBJECT PARCEL”). The SUBJECT PARCEL is believed to
contain controlled substances/proceeds and/or documents relating to or from
the sale of controlled substances. The “SUBJECT PARCEL” is described as
follows: A Priority Mail Parcel No. 9505 5100 2091 6355 0353 70, addressed
to “Xander Valdez 1565 Siskiyou Blvd. Spc #9 Ashland, OR 97520”, being
sent from “Megan Valdez 4262 S. 1100 E. SLC, UT 84124” postmarked
December 20, 2016, at Salt Lake’ City, UT, a plain brown box measuring
approximately 19” X 14” X 8.5”, weighing approximately 17 Ibs. 12.6 oz.
with metered and stamp postage affixed totaling $20.60. .

BACKGROUND INVESTIGATION

On December 20, 2016 at approximately 5:00PM Postal Inspectors were
notified by United States Postal Service (USPS) management about the
SUBJECT PARCEL, which had been accepted for mailing in Salt Lake City,

UT. USPS management reported that the SUBJECT PARCEL smelled like

 
 

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marijuana. Postal Inspectors detained the SUBJECT PARCEL for further
investigation.
On December 21, 2016 I made arrangements for a K9, certified to detect
narcotics, to sniff the SUBJECT PARCEL.
On December 21, 2016 Summit County Sheriff's Office Detective Vince
Nguyen brought his K9, Gorka, to the offices of USPIS. The SUBJECT
PARCEL was placed among other parcels and equipment. At approximately
9:20 AM, Detective Nguyen led Gorka to the area where the aforementioned
parcels, equipment, and SUBJECT PARCEL were located and removed the
_ leash from Gorka. Gorka searched the room without being led and was able to .
wander and search the area alone while Detective Nguyen stood outside the
search area to observe Gorka. When Gorka sniffed the SUBJECT PARCEL
she stopped. Detective Nguyen related to me that Gorka positively alerted
and reacted consistently to the odor of narcotics emanating from the
SUBJECT PARCEL.
K9 Gorka is a certified K9 narcotics detection assigned to the Homeland
Security Task Force and Summit County Sheriff's Office. She is certified
through Utah Peace Officer Standards and Training (POST), National Police
Canine Association and California Narcotics Canine Association.
Based on the aforementioned facts, your Affiant believes there is probable
cause to believe that the SUBJECT PARCEL described in Paragraph No. 3
contains controlled substances and/or proceeds from the trafficking of

controlled substances, and/or any documents or items showing names and

 
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addresses or persons from whom or to whom the package was sent and/or any
items of contraband, constituting evidence of violations of Title 18, United
States Code, Section 1716, Injurious Articles as Nonmailable; Title 21, United
States Code, Section 841, Possession or Distribution of a Controlled

Substance; Title 21 United States Code, Section 843, Unlawful Use of a

Communication Facility (Mail); and other related offenses.

Nance Howell
United States Postal Inspector

APPROVED:
JQHN W. HUBER

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VERNON G. STEJSKAL
Assistant United States Attorney

 

Subscribed and sworn to before me on this 2 a day of December, 2016.

Enel, VA ne
_ EVBLYAY. PURSE
United Statés Magistrate Judge

 

 
